                Case 2:16-cr-00198-SMJ                     ECF No. 321               filed 11/30/17       PageID.1464 Page 1 of 11
  2$2%     5HY -XGJPHQWLQD&ULPLQDO&DVH
                 6KHHW5HYLVHGE\:$('



                                               81,7('67$7(6',675,&7&2857                                                                 FILED IN THE
                                                                                                                                        U.S. DISTRICT COURT
                                                                                                                                  EASTERN DISTRICT OF WASHINGTON

                                                 (DVWHUQ'LVWULFW RI :DVKLQJWRQ
                                                                                                                                   Nov 30, 2017
            81,7('67$7(62)$0(5,&$                                           *1st JUDGMENT IN A CRIMINAL CASE
                                                                                                                                       SEAN F. MCAVOY, CLERK
                       V.
                 MANDY LEE THOMASON                                           &DVH1XPEHU           2:16CR00198-SMJ-5

                                                                              8601XPEHU            20314-085

                                                                                     Terence Michael Ryan
                                                                              'HIHQGDQW¶V$WWRUQH\
Date of Original Judgment: 10/03/2017

   ✔ *Modification of Restitution Order (18 U.S.C. § 3664)

  THE DEFENDANT

  ✔SOHDGHGJXLOW\WRFRXQW V
  G                                     1 of the Information Superseding Indictment
  G SOHDGHGQRORFRQWHQGHUHWRFRXQW V
     ZKLFKZDVDFFHSWHGE\WKHFRXUW
  G ZDVIRXQGJXLOW\RQFRXQW V
     DIWHUDSOHDRIQRWJXLOW\

  7KHGHIHQGDQWLVDGMXGLFDWHGJXLOW\RIWKHVHRIIHQVHV

  Title & Section                             Nature of Offense                                                                       Offense Ended Count
 18 U.S.C. § 1344 and 18 U.S.C.            Conspiracy to Commit Bank Fraud                                                               04/30/14    1s
    § 1349




         7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHVWKURXJK                      11        RIWKLVMXGJPHQW7KHVHQWHQFHLVLPSRVHGSXUVXDQWWR
  WKH6HQWHQFLQJ5HIRUP$FWRI
  G 7KHGHIHQGDQWKDVEHHQIRXQGQRWJXLOW\RQFRXQW V
  ✔&RXQW V
  G              All remaining counts                                G LV      ✔
                                                                               G DUHGLVPLVVHGRQWKHPRWLRQRIWKH8QLWHG6WDWHV
           ,WLVRUGHUHGWKDWWKHGHIHQGDQWPXVWQRWLI\WKH8QLWHG6WDWHVDWWRUQH\IRUWKLVGLVWULFWZLWKLQGD\VRIDQ\FKDQJHRIQDPHUHVLGHQFH
  RUPDLOLQJDGGUHVVXQWLODOOILQHVUHVWLWXWLRQFRVWVDQGVSHFLDODVVHVVPHQWVLPSRVHGE\WKLVMXGJPHQWDUHIXOO\SDLG,IRUGHUHGWRSD\UHVWLWXWLRQ
  WKHGHIHQGDQWPXVWQRWLI\WKHFRXUWDQG8QLWHG6WDWHVDWWRUQH\RIPDWHULDOFKDQJHVLQHFRQRPLFFLUFXPVWDQFHV

                                                                9/28/2017
                                                              'DWHRI,PSRVLWLRQRI-XGJPHQW




                                                              6LJQDWXUHRI-XGJH




                                                              The Honorable Salvador Mendoza, Jr.                  Judge, U.S. District Court
                                                              1DPHDQG7LWOHRI-XGJH
                                                              


                                                                11/30/2017
                                                              'DWH
                                                              
            Case 2:16-cr-00198-SMJ                    ECF No. 321         filed 11/30/17           PageID.1465 Page 2 of 11
$2%    5HY -XGJPHQWLQ&ULPLQDO&DVH
           6KHHW²,PSULVRQPHQW

                                                                                                         -XGJPHQW²3DJH   2       RI   11
'()(1'$17 MANDY LEE THOMASON
&$6(180%(5 2:16CR00198-SMJ-5


                                                              IMPRISONMENT

       7KHGHIHQGDQWLVKHUHE\FRPPLWWHGWRWKHFXVWRG\RIWKH)HGHUDO%XUHDXRI3ULVRQVWREHLPSULVRQHGIRUDWRWDO
WHUPRI

 Credit for time heretofore served by the defendant. Defendant shall not serve any additional term of imprisonment in this matter.

 Defendant shall receive credit for time served in federal custody prior to sentencing in this matter.


   G 7KHFRXUWPDNHVWKHIROORZLQJUHFRPPHQGDWLRQVWRWKH%XUHDXRI3ULVRQV




   G 7KHGHIHQGDQWLVUHPDQGHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV0DUVKDO

   G 7KHGHIHQGDQWVKDOOVXUUHQGHUWRWKH8QLWHG6WDWHV0DUVKDOIRUWKLVGLVWULFW
       G     DW                                      G DP     G SP         RQ                                              

       G     DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

   G 7KHGHIHQGDQWVKDOOVXUUHQGHUIRUVHUYLFHRIVHQWHQFHDWWKHLQVWLWXWLRQGHVLJQDWHGE\WKH%XUHDXRI3ULVRQV
       G     EHIRUHSPRQ                                              

       G     DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

       G     DVQRWLILHGE\WKH3UREDWLRQRU3UHWULDO6HUYLFHV2IILFH


                                                                    RETURN
,KDYHH[HFXWHGWKLVMXGJPHQWDVIROORZV




       'HIHQGDQWGHOLYHUHGRQ                                                              WR

DW                                                   ZLWKDFHUWLILHGFRS\RIWKLVMXGJPHQW



                                                                                                      81,7('67$7(60$56+$/


                                                                           %\
                                                                                                   '(387<81,7('67$7(60$56+$/
             Case 2:16-cr-00198-SMJ                  ECF No. 321      filed 11/30/17        PageID.1466 Page 3 of 11
$2% 5HY   -XGJPHQWLQD&ULPLQDO&DVH
                      6KHHW²6XSHUYLVHG5HOHDVH
                                                                                                      -XGJPHQW²3DJH     3    RI        11
'()(1'$17 MANDY LEE THOMASON
&$6(180%(5 2:16CR00198-SMJ-5
                                                      SUPERVISED RELEASE
8SRQUHOHDVHIURPLPSULVRQPHQW\RXZLOOEHRQVXSHUYLVHGUHOHDVHIRUDWHUPRI           4 years




                                                     MANDATORY CONDITIONS
   <RXPXVWQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH
   <RXPXVWQRWXQODZIXOO\SRVVHVVDFRQWUROOHGVXEVWDQFHLQFOXGLQJPDULMXDQDZKLFKUHPDLQVLOOHJDOXQGHUIHGHUDOODZ
   <RXPXVWUHIUDLQIURPDQ\XQODZIXOXVHRIDFRQWUROOHGVXEVWDQFH<RXPXVWVXEPLWWRRQHGUXJWHVWZLWKLQGD\VRIUHOHDVHIURP
     LPSULVRQPHQWDQGDWOHDVWWZRSHULRGLFGUXJWHVWVWKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUW
            G 7KHDERYHGUXJWHVWLQJFRQGLWLRQLVVXVSHQGHGEDVHGRQWKHFRXUW VGHWHUPLQDWLRQWKDW\RX
               SRVHDORZULVNRIIXWXUHVXEVWDQFHDEXVH(check if applicable)
    ✔
      G <RXPXVWFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU(check if applicable)
     G <RXPXVWFRPSO\ZLWKWKHUHTXLUHPHQWVRIWKH6H[2IIHQGHU5HJLVWUDWLRQDQG1RWLILFDWLRQ$FW 86&et seq DV
         GLUHFWHGE\WKHSUREDWLRQRIILFHUWKH%XUHDXRI3ULVRQVRUDQ\VWDWHVH[RIIHQGHUUHJLVWUDWLRQDJHQF\LQZKLFK\RXUHVLGHZRUN
         DUHDVWXGHQWRUZHUHFRQYLFWHGRIDTXDOLI\LQJRIIHQVH(check if applicable)
     G <RXPXVWSDUWLFLSDWHLQDQDSSURYHGSURJUDPIRUGRPHVWLFYLROHQFH(check if applicable)

<RXPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVWKDWKDYHEHHQDGRSWHGE\WKLVFRXUWDVZHOODVZLWKDQ\RWKHUFRQGLWLRQVRQWKHDWWDFKHG
SDJH
            Case 2:16-cr-00198-SMJ                      ECF No. 321     filed 11/30/17        PageID.1467 Page 4 of 11
$2% 5HY    -XGJPHQWLQD&ULPLQDO&DVH
                        6KHHW$²6XSHUYLVHG5HOHDVH
                                                                                               -XGJPHQW²3DJH        4         RI        11
'()(1'$17 MANDY LEE THOMASON
&$6(180%(5 2:16CR00198-SMJ-5

                                        STANDARD CONDITIONS OF SUPERVISION
$VSDUWRI\RXUVXSHUYLVHGUHOHDVH\RXPXVWFRPSO\ZLWKWKHIROORZLQJVWDQGDUGFRQGLWLRQVRIVXSHUYLVLRQ7KHVHFRQGLWLRQVDUHLPSRVHG
EHFDXVHWKH\HVWDEOLVKWKHEDVLFH[SHFWDWLRQVIRU\RXUEHKDYLRUZKLOHRQVXSHUYLVLRQDQGLGHQWLI\WKHPLQLPXPWRROVQHHGHGE\SUREDWLRQ
RIILFHUVWRNHHSLQIRUPHGUHSRUWWRWKHFRXUWDERXWDQGEULQJDERXWLPSURYHPHQWVLQ\RXUFRQGXFWDQGFRQGLWLRQ

    <RXPXVWUHSRUWWRWKHSUREDWLRQRIILFHLQWKHIHGHUDOMXGLFLDOGLVWULFWZKHUH\RXDUHDXWKRUL]HGWRUHVLGHZLWKLQKRXUVRI\RXU
      UHOHDVHIURPLPSULVRQPHQWXQOHVVWKHSUREDWLRQRIILFHULQVWUXFWV\RXWRUHSRUWWRDGLIIHUHQWSUREDWLRQRIILFHRUZLWKLQDGLIIHUHQWWLPH
      IUDPH
    $IWHULQLWLDOO\UHSRUWLQJWRWKHSUREDWLRQRIILFH\RXZLOOUHFHLYHLQVWUXFWLRQVIURPWKHFRXUWRUWKHSUREDWLRQRIILFHUDERXWKRZDQG
      ZKHQ\RXPXVWUHSRUWWRWKHSUREDWLRQRIILFHUDQG\RXPXVWUHSRUWWRWKHSUREDWLRQRIILFHUDVLQVWUXFWHG
    <RXPXVWQRWNQRZLQJO\OHDYHWKHIHGHUDOMXGLFLDOGLVWULFWZKHUH\RXDUHDXWKRUL]HGWRUHVLGHZLWKRXWILUVWJHWWLQJSHUPLVVLRQIURPWKH
      FRXUWRUWKHSUREDWLRQRIILFHU
    <RXPXVWEHWUXWKIXOZKHQUHVSRQGLQJWRWKHTXHVWLRQVDVNHGE\\RXUSUREDWLRQRIILFHU
    <RXPXVWOLYHDWDSODFHDSSURYHGE\WKHSUREDWLRQRIILFHU,I\RXSODQWRFKDQJHZKHUH\RXOLYHRUDQ\WKLQJDERXW\RXUOLYLQJ
      DUUDQJHPHQWV VXFKDVWKHSHRSOH\RXOLYHZLWK \RXPXVWQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWGD\VEHIRUHWKHFKDQJH,IQRWLI\LQJ
      WKHSUREDWLRQRIILFHULQDGYDQFHLVQRWSRVVLEOHGXHWRXQDQWLFLSDWHGFLUFXPVWDQFHV\RXPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQ
      KRXUVRIEHFRPLQJDZDUHRIDFKDQJHRUH[SHFWHGFKDQJH
    <RXPXVWDOORZWKHSUREDWLRQRIILFHUWRYLVLW\RXDWDQ\WLPHDW\RXUKRPHRUHOVHZKHUHDQG\RXPXVWSHUPLWWKHSUREDWLRQRIILFHUWR
      WDNHDQ\LWHPVSURKLELWHGE\WKHFRQGLWLRQVRI\RXUVXSHUYLVLRQWKDWKHRUVKHREVHUYHVLQSODLQYLHZ
    <RXPXVWZRUNIXOOWLPH DWOHDVWKRXUVSHUZHHN DWDODZIXOW\SHRIHPSOR\PHQWXQOHVVWKHSUREDWLRQRIILFHUH[FXVHV\RXIURP
      GRLQJVR,I\RXGRQRWKDYHIXOOWLPHHPSOR\PHQW\RXPXVWWU\WRILQGIXOOWLPHHPSOR\PHQWXQOHVVWKHSUREDWLRQRIILFHUH[FXVHV
      \RXIURPGRLQJVR,I\RXSODQWRFKDQJHZKHUH\RXZRUNRUDQ\WKLQJDERXW\RXUZRUN VXFKDV\RXUSRVLWLRQRU\RXUMRE
      UHVSRQVLELOLWLHV \RXPXVWQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWGD\VEHIRUHWKHFKDQJH,IQRWLI\LQJWKHSUREDWLRQRIILFHUDWOHDVW
      GD\VLQDGYDQFHLVQRWSRVVLEOHGXHWRXQDQWLFLSDWHGFLUFXPVWDQFHV\RXPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQKRXUVRI
      EHFRPLQJDZDUHRIDFKDQJHRUH[SHFWHGFKDQJH
    <RXPXVWQRWFRPPXQLFDWHRULQWHUDFWZLWKVRPHRQH\RXNQRZLVHQJDJHGLQFULPLQDODFWLYLW\,I\RXNQRZVRPHRQHKDVEHHQ
      FRQYLFWHGRIDIHORQ\\RXPXVWQRWNQRZLQJO\FRPPXQLFDWHRULQWHUDFWZLWKWKDWSHUVRQZLWKRXWILUVWJHWWLQJWKHSHUPLVVLRQRIWKH
      SUREDWLRQRIILFHU
    ,I\RXDUHDUUHVWHGRUTXHVWLRQHGE\DODZHQIRUFHPHQWRIILFHU\RXPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQKRXUV
   <RXPXVWQRWRZQSRVVHVVRUKDYHDFFHVVWRDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUGDQJHURXVZHDSRQ LHDQ\WKLQJWKDWZDV
      GHVLJQHGRUZDVPRGLILHGIRUWKHVSHFLILFSXUSRVHRIFDXVLQJERGLO\LQMXU\RUGHDWKWRDQRWKHUSHUVRQVXFKDVQXQFKDNXVRUWDVHUV 
   <RXPXVWQRWDFWRUPDNHDQ\DJUHHPHQWZLWKDODZHQIRUFHPHQWDJHQF\WRDFWDVDFRQILGHQWLDOKXPDQVRXUFHRULQIRUPDQWZLWKRXW
      ILUVWJHWWLQJWKHSHUPLVVLRQRIWKHFRXUW
   ,IWKLVMXGJPHQWLPSRVHVUHVWLWXWLRQDILQHRUVSHFLDODVVHVVPHQWLWLVDFRQGLWLRQRIVXSHUYLVHGUHOHDVHWKDW\RXSD\LQDFFRUGDQFH
      ZLWKWKH6FKHGXOHRI3D\PHQWVVKHHWRIWKLVMXGJPHQW<RXVKDOOQRWLI\WKHSUREDWLRQRIILFHURIDQ\PDWHULDOFKDQJHLQ\RXUHFRQRPLF
      FLUFXPVWDQFHVWKDWPLJKWDIIHFW\RXUDELOLW\WRSD\DQ\XQSDLGDPRXQWRIUHVWLWXWLRQILQHRUVSHFLDODVVHVVPHQWV
   <RXPXVWIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHUUHODWHGWRWKHFRQGLWLRQVRIVXSHUYLVLRQ



U.S. Probation Office Use Only
$86SUREDWLRQRIILFHUKDVLQVWUXFWHGPHRQWKHFRQGLWLRQVVSHFLILHGE\WKHFRXUWDQGKDVSURYLGHGPHZLWKDZULWWHQFRS\RIWKLV
MXGJPHQWFRQWDLQLQJWKHVHFRQGLWLRQV)RUIXUWKHULQIRUPDWLRQUHJDUGLQJWKHVHFRQGLWLRQVVHHOverview of Probation and Supervised
Release ConditionsDYDLODEOHDWZZZXVFRXUWVJRY


'HIHQGDQW V6LJQDWXUH                                                                                    'DWH
           Case 2:16-cr-00198-SMJ                      ECF No. 321    filed 11/30/17        PageID.1468 Page 5 of 11
$2%     5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW'²6XSHUYLVHG5HOHDVH
                                                                                                     -XGJPHQW²3DJH      5     RI         11
'()(1'$17 MANDY LEE THOMASON
&$6(180%(5 2:16CR00198-SMJ-5

                                         SPECIAL CONDITIONS OF SUPERVISION
 1. You must not open, possess, use, or otherwise have access to any checking account, ATM card, or credit card, without the advance
 approval of the supervising officer.

 2. You must provide the supervising officer with access to any requested financial information and authorize the release of any
 financial information. The probation office may share financial information with the U.S. Attorneys Office. You must disclose all
 assets and liabilities to the supervising officer. You must not transfer, sell, give away, or otherwise convey any asset, without the
 advance approval of the supervising officer.

 3. You must submit your person, residence, office, or vehicle and belongings to a search, conducted by a probation officer, at a sensible
 time and manner, based upon reasonable suspicion of contraband or evidence of violation of a condition of supervision. Failure to
 submit to search may be grounds for revocation. You must warn persons with whom you share a residence that the premises may be
 subject to search.

 4. You must undergo a substance abuse evaluation and, if indicated by a licensed/certified treatment provider, enter into and
 successfully complete an approved substance abuse treatment program, which could include inpatient treatment and aftercare upon
 further order of the court. You must contribute to the cost of treatment according to your ability to pay. You must allow full reciprocal
 disclosure between the supervising officer and treatment provider.

 5. You must abstain from the use of illegal controlled substances, and must submit to urinalysis and sweat patch testing, as directed by
 the supervising officer, but no more than 6 tests per month, in order to confirm continued abstinence from these substances.
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                      6KHHW²&ULPLQDO0RQHWDU\3HQDOWLHV
                                                                                                          -XGJPHQW²3DJH        6       RI    11
 '()(1'$17 MANDY LEE THOMASON
 &$6(180%(5 2:16CR00198-SMJ-5
                                               CRIMINAL MONETARY PENALTIES
      7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                        Assessment                  JVTA Assessment*                  Fine                         Restitution
 TOTALS             $        $100.00            $         $0.00                   $          $0.00            $
                                                                                                                            $24,710.50


 G 7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO                  .$QAmended Judgment in a Criminal Case(AO 245C) ZLOOEHHQWHUHG
      DIWHUVXFKGHWHUPLQDWLRQ

✔
G 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQ LQFOXGLQJFRPPXQLW\UHVWLWXWLRQ WRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
      ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
      WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86& L DOOQRQIHGHUDOYLFWLPVPXVWEHSDLG
      EHIRUHWKH8QLWHG6WDWHVLVSDLG

     Name of Payee                                                          Total Loss**             Restitution Ordered       Priority or Percentage
     Natalya Herski                                                                     $100.00                     $100.00
     Geoff McLaughlin                                                                   $200.00                     $200.00
     Terry Burt                                                                         $410.00                     $410.00

     Horizon Credit Union                                                               $595.00                     $595.00

     Pawn 1                                                                             $280.00                     $280.00
     Bank of America FIA Card Services                                                 $1,500.00                   $1,500.00
     Chase Bank                                                                        $2,309.00                   $2,309.00
     Citibank                                                                          $1,800.66                   $1,800.66

     STCU                                                                             $14,573.70                  $14,573.70
     Umpqua Bank                                                                        $500.00                     $500.00

     Umpqua Bank                                                                       $1,067.14                   $1,067.14

                                                          24,710.50                                   24,710.50
 TOTALS                              $                                        $


 G     5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW

 G     7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUH WKH
       ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86& I $OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
       WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86& J 

 ✔ 7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW
 G
       ✔
       G WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRU WKH           G ILQH      ✔ UHVWLWXWLRQ
                                                                          G
       G WKHLQWHUHVWUHTXLUHPHQWIRUWKH           G ILQH        G   UHVWLWXWLRQLVPRGLILHGDVIROORZV

   -XVWLFHIRU9LFWLPVRI7UDIILFNLQJ$FWRI3XE/1R
    )LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRURIIHQVHVFRPPLWWHGRQRU
 DIWHU6HSWHPEHUEXWEHIRUH$SULO
           Case 2:16-cr-00198-SMJ                      ECF No. 321    filed 11/30/17      PageID.1470 Page 7 of 11
$2%     5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW%²&ULPLQDO0RQHWDU\3HQDOWLHV
                                                                                                   -XGJPHQW²3DJH      7     RI      11
'()(1'$17 MANDY LEE THOMASON
&$6(180%(5 2:16CR00198-SMJ-5

                                             ADDITIONAL RESTITUTION PAYEES
                                                                                                                          Priority or
Name of Payee                                                        Total Loss*          Restitution Ordered             Percentage

  U.S. Bank                                                                 $1,375.00                $1,375.00




        )LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRURIIHQVHVFRPPLWWHGRQ
RUDIWHU6HSWHPEHUEXWEHIRUH$SULO
$2%     Case 2:16-cr-00198-SMJ
             5HY -XGJPHQWLQD&ULPLQDO&DVH    ECF No. 321         filed 11/30/17    PageID.1471 Page 8 of 11
             6KHHW²6FKHGXOHRI3D\PHQWV

                                                                                                         -XGJPHQW²3DJH      8     RI       11
'()(1'$17 MANDY LEE THOMASON
&$6(180%(5 2:16CR00198-SMJ-5

                                                         SCHEDULE OF PAYMENTS

+DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVDUHGXHDVIROORZV

A     G     /XPSVXPSD\PHQWRI                            GXHLPPHGLDWHO\EDODQFHGXH

            G      QRWODWHUWKDQ                                  RU
            G      LQDFFRUGDQFH          G &          G '   G     (RU    G )EHORZRU
B     ✔ 3D\PHQWWREHJLQLPPHGLDWHO\ PD\EHFRPELQHGZLWK
      G                                                                      G &    G 'RU     ✔)EHORZ RU
                                                                                                 G
C     G     3D\PHQWLQHTXDO                    HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                      RYHUDSHULRGRI
                         HJPRQWKVRU\HDUV WRFRPPHQFH                 HJRUGD\V DIWHUWKHGDWHRIWKLVMXGJPHQWRU

D     G     3D\PHQWLQHTXDO                     HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                    RYHUDSHULRGRI
                          HJPRQWKVRU\HDUV WRFRPPHQFH                 HJRUGD\V DIWHUUHOHDVHIURPLPSULVRQPHQWWRD
            WHUPRIVXSHUYLVLRQRU

E     G     3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                  HJRUGD\V DIWHUUHOHDVHIURP
            LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

F     ✔ 6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV
      G
      While on supervised release, monetary penalties are payable on a monthly basis of not less than $25.00 per month or 10% of the
      defendant's net household income, whichever is less, commencing 30 days after the defendant is released from imprisonment.




 8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLIWKLVMXGJPHQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHVLVGXH
 GXULQJWKHSHURLGRILPSULVRQPHQW$OOFULPLQDOPRQHWDU\SHQDOWLHVH[FHSW WKRVH SD\PHQWVPDGHWKURXJKWKH)HGHUDO%XUHDXRI3ULVRQV¶
 ,QPDWH)LQDQFLDO5HVSRQVLELOLW\3URJUDPDUHPDGHWRWKHIROORZLQJDGGUHVVXQWLOPRQHWDU\SHQDOWLHVDUHSDLGLQIXOO&OHUN86'LVWULFW
 &RXUW$WWHQWLRQ)LQDQFH32%R[6SRNDQH:$

 7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG

✔ -RLQWDQG6HYHUDO
G
      'HIHQGDQWDQG&R'HIHQGDQW1DPHVDQG&DVH1XPEHUV LQFOXGLQJGHIHQGDQWQXPEHU 7RWDO$PRXQW-RLQWDQG6HYHUDO$PRXQW
      DQGFRUUHVSRQGLQJSD\HHLIDSSURSULDWH
           Mandy Thomason 2:16CR00198-SMJ-5                        $100.00           $100.00     Natalya Herski
           Cybil Imholt 2:16CR00198-SMJ-1                          $100.00           $100.00     Natalya Herski
           Brendon McCullough 2:16CR198-SMJ-2                      $100.00           $100.00     Natalya Herski
G     7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ

G     7KHGHIHQGDQWVKDOOSD\WKHIROORZLQJFRXUWFRVW V 

✔ 7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV
G
       See "ADDITIONAL FORFEITED PROPERTY" Sheet.



3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHU  DVVHVVPHQW  UHVWLWXWLRQSULQFLSDO  UHVWLWXWLRQLQWHUHVW  ILQHSULQFLSDO
  ILQHLQWHUHVW  FRPPXQLW\UHVWLWXWLRQ  -97$DVVHVVPHQW  SHQDOWLHVDQG  FRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQG
FRXUWFRVWV
          Case 2:16-cr-00198-SMJ                      ECF No. 321       filed 11/30/17       PageID.1472 Page 9 of 11
$2%    5HY -XGJPHQWLQD&ULPLQDO&DVH
          6KHHW$²6FKHGXOHRI3D\PHQWV
                                                                                                    -XGJPHQW²3DJH     9            11
                                                                                                                          RI
'()(1'$17 MANDY LEE THOMASON
&$6(180%(5 2:16CR00198-SMJ-5

      ADDITIONAL DEFENDANTS AND CO-DEFENDANTS HELD JOINT AND SEVERAL
Case Number
Defendant and Co-Defendant Names                                         Joint and Several                  Corresponding Payee,
(including defendant number)                           Total Amount           Amount                           If appropriate
 Jason Genge 2:16CR0198-SMJ-03                               $100.00              $100.00     Natalya Herski
 Amy Jo Williams 2:16CR0198-SMJ-04                            $100.00             $100.00      Natalya Herski
 Mandy Thomason 2:16CR00198-SMJ-5                             $200.00             $200.00      Geoff McLaughlin
 Cybil Imholt 2:16CR00198-SMJ-1                               $200.00             $200.00     Geoff McLaughlin
 Brendon McCullough 2:16CR198-SMJ-2                           $200.00             $200.00      Geoff McLaughlin
 Jason Genge 2:16CR0198-SMJ-03                                $200.00             $200.00      Geoff McLaughlin
 Amy Jo Williams 2:16CR0198-SMJ-04                            $200.00             $200.00     Geoff McLaughlin
 Mandy Thomason 2:16CR00198-SMJ-5                             $410.00             $410.00      Terry Burt
 Cybil Imholt 2:16CR00198-SMJ-1                               $410.00             $410.00     Terry Burt
 Brendon McCullough 2:16CR198-SMJ-2                           $410.00             $410.00      Terry Burt
 Jason Genge 2:16CR0198-SMJ-03                                $410.00             $410.00      Terry Burt
 Amy Jo Williams 2:16CR0198-SMJ-04                            $410.00             $410.00      Terry Burt
 Mandy Thomason 2:16CR00198-SMJ-5                             $595.00             $595.00     Horizon Credit Union
 Cybil Imholt 2:16CR00198-SMJ-1                               $595.00             $595.00      Horizon Credit Union
 Brendon McCullough 2:16CR198-SMJ-2                           $595.00             $595.00      Horizon Credit Union
 Jason Genge 2:16CR0198-SMJ-03                                $595.00             $595.00      Horizon Credit Union
 Amy Jo Williams 2:16CR0198-SMJ-04                            $595.00             $595.00     Horizon Credit Union
 Mandy Thomason 2:16CR00198-SMJ-5                             $280.00             $280.00      Pawn 1
 Cybil Imholt 2:16CR00198-SMJ-1                               $280.00             $280.00     Pawn 1
 Brendon McCullough 2:16CR198-SMJ-2                           $280.00             $280.00     Pawn 1
 Jason Genge 2:16CR0198-SMJ-03                                $280.00             $280.00      Pawn 1
 Amy Jo Williams 2:16CR0198-SMJ-04                           $280.00              $280.00     Pawn 1
 Mandy Thomason 2:16CR00198-SMJ-5                           $1,500.00           $1,500.00      Bank of America FIA Card Services
 Cybil Imholt 2:16CR00198-SMJ-1                             $1,500.00           $1,500.00      Bank of America FIA Card Services
 Brendon McCullough 2:16CR198-SMJ-2                         $1,500.00           $1,500.00      Bank of America FIA Card Services
 Jason Genge 2:16CR0198-SMJ-03                              $1,500.00           $1,500.00      Bank of America FIA Card Services
 Amy Jo Williams 2:16CR0198-SMJ-04                          $1,500.00           $1,500.00      Bank of America FIA Card Services
 Mandy Thomason 2:16CR00198-SMJ-5                           $2,309.00           $2,309.00     Chase Bank
 *Cybil Imholt 2:16CR00198-SMJ-1                            $2,559.00           $2,309.00      Chase Bank
 *Brendon McCullough 2:16CR198-SMJ-2                        $2,559.00           $2,309.00      Chase Bank
 Jason Genge 2:16CR0198-SMJ-03                                $430.00             $430.00      Chase Bank
 Amy Jo Williams 2:16CR0198-SMJ-04                            $430.00             $430.00     Chase Bank
 Mandy Thomason 2:16CR00198-SMJ-5                           $1,800.66           $1,800.66      CitiBank
          Case 2:16-cr-00198-SMJ                     ECF No. 321        filed 11/30/17    PageID.1473 Page 10 of 11
AO 245B   (Rev. 06/05) Judgment in a Criminal Case
          Sheet 6A — Schedule of Payments
                                                                                                   Judgment—Page   10   of       11
DEFENDANT: MANDY LEE THOMASON
CASE NUMBER: 2:16CR00198-SMJ-5

      ADDITIONAL DEFENDANTS AND CO-DEFENDANTS HELD JOINT AND SEVERAL
Case Number
Defendant and Co-Defendant Names                                          Joint and Several               Corresponding Payee,
(including defendant number)                           Total Amount            Amount                        If appropriate
 Cybil Imholt 2:16CR00198-SMJ-1                             $1,800.66            $1,800.66    Citibank
 Brendon McCullough 2:16CR198-SMJ-2                         $1,800.66            $1,800.66    Citibank
 Jason Genge 2:16CR0198-SMJ-03                              $1,800.66            $1,800.66    Citibank
 Amy Jo Williams 2:16CR0198-SMJ-04                          $1,800.66            $1,800.66    Citibank
 Mandy Thomason 2:16CR00198-SMJ-5                          $14,573.70           $14,573.70    STCU
 *Cybil Imholt 2:16CR00198-SMJ-1                           $14,730.06           $14,573.70    STCU
 *Brendon McCullough 2:16CR198-SMJ-2                       $14,730.06           $14,573.70    STCU
 Jason Genge 2:16CR0198-SMJ-03                              $9,385.42            $9,385.42    STCU
 Amy Jo Williams 2:16CR0198-SMJ-04                          $9,385.42            $9,385.42    STCU
 Mandy Thomason 2:16CR00198-SMJ-5                             $500.00              $500.00    Umpqua
 Cybil Imholt 2:16CR00198-SMJ-1                               $500.00              $500.00    Umpqua
 Brendon McCullough 2:16CR198-SMJ-2                           $500.00              $500.00    Umpqua
 Jason Genge 2:16CR0198-SMJ-03                                $500.00              $500.00    Umpqua
 Amy Jo Williams 2:16CR0198-SMJ-04                            $500.00              $500.00    Umpqua
 Mandy Thomason 2:16CR00198-SMJ-5                           $1,067.14            $1,067.14    Umpqua
 Cybil Imholt 2:16CR00198-SMJ-1                             $1,067.14            $1,067.14    Umpqua
 Brendon McCullough 2:16CR198-SMJ-2                         $1,067.14            $1,067.14    Umpqua
 Jason Genge 2:16CR0198-SMJ-03                              $1,067.14            $1,067.14    Umpqua
 Amy Jo Williams 2:16CR0198-SMJ-04                          $1,067.14            $1,067.14    Umpqua
 Mandy Thomason 2:16CR00198-SMJ-5                           $1,375.00            $1,375.00    U.S. Bank
 Cybil Imholt 2:16CR00198-SMJ-1                             $1,375.00            $1,375.00    U.S. Bank
 Brendon McCullough 2:16CR198-SMJ-2                         $1,375.00            $1,375.00    U.S. Bank
 Jason Genge 2:16CR0198-SMJ-03                              $1,050.00            $1,050.00    U.S. Bank
 Amy Jo Williams 2:16CR0198-SMJ-04                          $1,050.00            $1,050.00    U.S. Bank
          Case 2:16-cr-00198-SMJ                       ECF No. 321   filed 11/30/17      PageID.1474 Page 11 of 11
$2%     5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW%²6FKHGXOHRI3D\PHQWV
                                                                                                   -XGJPHQW²3DJH     11             11
                                                                                                                             RI
'()(1'$17 MANDY LEE THOMASON
&$6(180%(5 2:16CR00198-SMJ-5

                                            ADDITIONAL FORFEITED PROPERTY
   Pursuant to 18 U.S.C. § 982(a)(2), the Defendant shall forfeit to the United States the sum of $24,300.50 U.S. currency, which shall
   be a joint and several money judgment representing the amount proceeds obtained during the time period of her participation in the
   Conspiracy to Commit Bank Fraud offense alleged in the Information Superseding Indictment, to which the Defendant plead guilty.
